                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

JIMMY L. SAMPLES,                  )
                                   )
    Plaintiff,                     )
                                   )                         Case No. 1:14-CV-21
v.                                 )
                                   )                         Judge Curtis L. Collier
BRADLEY COUNTY JUSTICE DEPARTMENT, )
                                   )
    Defendant.                     )

                                     JUDGMENT ORDER

       Pro se Plaintiff Jimmy L. Samples (“Plaintiff”) filed a complaint against Defendant Bradley

County Justice Department (“Defendant”) (Court File No. 2) as well as a motion to proceed in forma

pauperis (“IFP”) (Court File No. 1).       Magistrate Judge Susan K. Lee filed a report and

recommendation (“R&R”) concluding (1) Plaintiff failed to state a claim upon which relief could

be granted because he did not allege facts to support a claim of municipal liability under 42 U.S.C.

§ 1983, and (2) Plaintiff failed to provide sufficient information from which an indigency

determination could be made (Court File No. 6). In a prior order, the magistrate judge provided

Plaintiff with 30 days to cure both defects, but he has not done so (Court File No. 5).

       Plaintiff has not filed an objection to the R&R within the allotted time. Accordingly, the

Court ACCEPTS and ADOPTS the magistrate judge’s R&R (Court File No. 6) pursuant to 28

U.S.C. § 636(b)(1), DENIES Plaintiff’s IFP motion (Court File No. 1), and DIRECTS the Clerk

of Court to CLOSE the case.

       SO ORDERED.

       ENTER:




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                                   /s/
                                   CURTIS L. COLLIER
                                   UNITED STATES DISTRICT JUDGE



ENTERED AS A JUDGMENT
   s/ Debra C. Poplin
   CLERK OF COURT




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